       Case 4:16-cr-00019-BMM Document 310 Filed 08/28/17 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

  UNITED STATES OF AMERICA,                  CR-16-19-GF-BMM

                        Plaintiff,

           vs.                               ORDER

  ZACHARY BROOKE ROBERTS,

                        Defendant.



      Upon the motion of the United States, and for good cause shown,

      IT IS ORDERED that the Indictment, Superseding Indictment, and Second

Superseding Indictment against Zachary Brooke Roberts are dismissed.

      DATED this 28th day of August, 2017.
